739 F.2d 317
    In re NORTH LITTLE ROCK SCHOOL DISTRICT and its Board ofDirectors, Petitioners.
    No. 84-1830.
    United States Court of Appeals,Eighth Circuit.
    July 6, 1984.
    
      Before ROSS, ARNOLD and JOHN R. GIBSON, Circuit Judges.
    
    ORDER
    
      1
      The Petition, Amended Petition, and Second Amended Petition for a Writ of Mandamus, have been carefully considered.  Petitioners argue that fundamental fairness requires issuance of the writ.
    
    
      2
      The extraordinary writ of mandamus issues only in exceptional circumstances amounting to a judicial usurpation of power.   Allied Chemical Corp. v. Daiflon, Inc., 449 U.S. 33, 35, 101 S.Ct. 188, 190, 66 L.Ed.2d 193 (1980);  Sperry Rand Corporation v. Larson, 554 F.2d 868, 872 (8th Cir.).  Petitioners have made no effort to demonstrate that the district court's actions have so exceeded its discretion as to be a usurpation of power.  Petitioners have totally failed to sustain their heavy burden to justify issuance of the writ.  The petitions for writ of mandamus are denied.
    
    